                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                            )
                Plaintiff,                          )
                                                    )
               v.                                   )       CASE NO. DNCW 3:01CR202-03
                                                    )       (Financial Litigation Unit)
PAUL BERNARD SUTTA,                                 )
               Defendant,                           )
and                                                 )
                                                    )
HONAKER AVIATION,                                   )
                                                    )
                        Garnishee.                  )

                                 ORDER OF GARNISHMENT

       THIS MATTER is before the Court on the Answer of Honaker Aviation as the Garnishee.

On March 31, 2005, the Honorable Richard L. Voorhees sentenced the Defendant to 12 months and

one day imprisonment on his conviction for Conspiracy to Defraud the United States, and

Conspiracy to Commit Money Laundering in violation of 18 U.S.C. §3711 and 18 U.S.C. §1956(h),

respectively. Defendant was also ordered to pay an assessment in the amount of $200.00 and

restitution in the amount of $13,664,660.26 to the victims of the crime. Id.

       The Government now seeks to garnish the Defendant’s earnings from the Garnishee. The

Answer of the Garnishee provides that Garnishee anticipates additional earnings in the form of new

wages (gross pay) in the amount of $1200.00 semi-monthly.

       The United States requests that 25% of the Defendant’s earnings which remain after all

deductions required by law have been withheld and 100% of all 1099 payments be applied to the

United States’ garnishment, and that the Government’s garnishment take immediate effect. See 28

U.S.C. § 3205(c)(10).




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        IT IS THEREFORE ORDERED that an Order of Garnishment is hereby ENTERED in

the amount of $13,657,920.26 computed through February 12, 2010, which attaches to any earnings

of the Defendant and up to 25% shall be garnished in favor of the United States until the Defendant’s

restitution debt is paid in full.

        SO ORDERED.                              Signed: February 16, 2010




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